

People v Kish (2025 NY Slip Op 02014)





People v Kish


2025 NY Slip Op 02014


Decided on April 03, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 03, 2025

Before: Webber, J.P., Kennedy, Mendez, Higgitt, O'Neill Levy, JJ. 


Ind No. 719/17|Appeal No. 4029|Case No. 2020-03965|

[*1]The People of the State of New York, Respondent,
vAaron Kish, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Lily Goetz of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Mallory Phelps of counsel), for respondent.



Judgment, Supreme Court, New York County (Gayle P. Roberts, J.), rendered October 29, 2019, convicting defendant, upon his plea of guilty, of attempted murder in the second degree, attempted rape in the first degree, attempted criminal sexual act in the first degree, and sexual abuse in the first degree, and sentencing him to an aggregate term of nine years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed on defendant at sentencing, and otherwise affirmed.
The court providently exercised its discretion in denying youthful offender treatment (see generally People v Drayton, 39 NY2d 580, 583, 584 [1976]), given the seriousness of the underlying crime. Defendant followed the victim and as she entered the building's vestibule, placed her in a chokehold and attempted to murder and rape her (see People v Fofona, 200 AD3d 502 [1st Dept 2021], lv denied 38 NY3d 927 [2022]).
We perceive no basis to substitute a youthful offender adjudication in the interest of justice, nor do we perceive any basis for reducing the sentence.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 3, 2025








